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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010

SECTION: J
These Pleadings apply to: All Cases
JUDGE BARBIER
(Including No. 12-970)
MAGISTRATE SUSHAN

DECLARATION OF STEPHEN J. HERMAN

I, Stephen J. Herman, respectfully declare, under penalty of perjury, that the following is

true and correct to the best of my knowledge, information and belief:

1. Iam licensed to practice law in the State of Louisiana, the United States District Court
for the Eastern District of Louisiana, the U.S. Fifth Circuit Court of Appeals, and the U.S.

Supreme Court.

2. James Parkerson Roy and I were appointed Interim Co-Liaison Counsel for the plaintiffs
in the consolidated cases that were pending in Section J of the Eastern District of
Louisiana on or around June 4, 2010. We were appointed Plaintiffs Co-Liaison Counsel
in MDL No. 2179 on or around August 27, 2010. We were also appointed Interim Co-
Class Counsel on or around March 5, 2012, and Co-Lead Class Counsel on or around

May 2, 2012.
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3. Ihave been advised by Court-approved CPA, Philip A. Garrett,’ that:

e Mr. Garrett previously paid, and is owed reimbursement for, $2,100.00 to Adams Jenkins
& Cheatham for the preparation and filing of 2014 tax returns for the Qualified
Settlement Fund.’

4. In addition, Mr. Garrett is currently owed a $21,000.00 for 2015 with respect to

administration of the Qualified Settlement Fund.

Signed, under penalty of perjury, this 4th day of December, 2015, in New Orleans,
Louisiana.

“/{/ Stephen J. Herman

' See PRE-TRIAL ORDER NO. 9 [Doc 508] ]1(3).

* See Invoice, included with this Declaration and the Plaintiffs’ Motion as Exhibit “A”.
